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                            UNITED STATES DISTRIT COURT
                          FOR THE DISTRICT OF RHODE ISLAND

 CHRISTOPHER LACCINOLE,                             Case 1:21-cv-00240
      Plaintiff,

 v.

 INTERNATIONAL UNION OF POLICE
 ASSOCIATION AFL-CIO and DOES 1-10,
 inclusive,
         Defendants.

            INTERNATIONAL UNION OF POLICE ASSOCIATION AFL-CIO’S
                     ANSWER TO PLAINTIFF’S COMPLAINT

       Defendant, International Union Of Police Association AFL-CIO (“IUPA” or

“Defendant”) answers the enumerated paragraphs of the Plaintiff’s Complaint as follows:

                                           INTRODUCTION

       The introductory paragraph contains nothing but scurrilous allegations and opinion. No

response is required but, to the extent a response is required, it is denied.

       1.      This paragraph contains a truism and no response is required. To the extent a

response in required, it is denied.

       2.      Defendant lacks sufficient information or belief to either admit or deny the

allegations of this paragraph.

       3.      This paragraph contains a truism and no response is required. To the extent a

response in required, it is denied.

       4.      Denied.

                                 II. JURISDICTION AND VENUE

       5.      This paragraph calls for a legal conclusion and, therefore, does not require a

response. To the extent a response in required, it is denied.
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       6.      This paragraph calls for a legal conclusion and, therefore, does not require a

response. To the extent a response in required, it is denied.

                                          III. PARTIES

       7.      Defendant lacks sufficient information or belief to either admit or deny the

allegations of this paragraph.

       8.      Admitted.

       9.      Admitted.

       10.     Defendant lacks sufficient information or belief to either admit or deny the

allegations of this paragraph.

       11.     Admitted.

       12.     Admitted.

                                 IV. FACTUAL ALLEGATIONS

       13.     Denied.

       14.     Defendant lacks sufficient information or belief to either admit or deny the

allegations of this paragraph.

       15.     Defendant lacks sufficient information or belief to either admit or deny the

allegations of this paragraph.

       16.     Defendant lacks sufficient information or belief to either admit or deny the

allegations of this paragraph.

       17.     Defendant lacks sufficient information or belief to either admit or deny the

allegations of this paragraph.

       18.     Denied.

       19.     Denied.




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       20.     Denied.

       21.     Denied.

       22.     Denied.

       23.     Denied.

       24.     Denied.

       25.     Denied.

       26.     Defendant lacks sufficient information or belief to either admit or deny the

allegations of this paragraph.

       27.     Denied.

       28.     Denied.

       29.     Defendant lacks sufficient information or belief to either admit or deny the

allegations of this paragraph.

       30.     Defendant lacks sufficient information or belief to either admit or deny the

allegations of this paragraph.

       31.     Defendant lacks sufficient information or belief to either admit or deny the

allegations of this paragraph.

       32.     Denied.

       33.     Admitted.

       34.     Denied.

       35.     Denied.

       36.     Denied.

       37.     Denied.

       38.     Denied.




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       39.     Denied.

       40.     Denied.

       41.     Denied.

       42.     This paragraph calls for a legal conclusion and, therefore, does not require a

response. To the extent a response in required, it is denied.

    V. STATUTORY STRUCTURE TELEPHONE CONSUMER PROTECTION ACT

       43.     This paragraph calls for a legal conclusion and, therefore, does not require a

response. To the extent a response in required, it is denied.

       44.     This paragraph calls for a legal conclusion and, therefore, does not require a

response. To the extent a response in required, it is denied.

       45.     This paragraph calls for a legal conclusion and, therefore, does not require a

response. To the extent a response in required, it is denied.

       46.     This paragraph calls for a legal conclusion and, therefore, does not require a

response. To the extent a response in required, it is denied.

       47.     This paragraph calls for a legal conclusion and, therefore, does not require a

response. To the extent a response in required, it is denied.

                  VI. STATUTORY STRUCTURE RIGHT TO PRIVACY

       48.     This paragraph calls for a legal conclusion and, therefore, does not require a

response. To the extent a response in required, it is denied.

          COUNT I – Telephone Consumer Protection Act – 47 U.S.C. § 227(b)(3)

       49.     Denied.

       50.     Denied.

       51.     Denied.




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       52.      PAC lacks sufficient information or belief to either admit or deny the allegations

of this paragraph.

            COUNT II – Telephone Consumer Protection Act – 47 U.S.C. § 227(c)(5)

       53.      Denied.

       54.      Denied.

       55.      Denied.

       56.      Denied.

                              COUNT III – RIGHT TO PRIVACY

       57.      Denied.

       58.      Denied.

       59.      Denied.

       60.      Denied.

       61.      Denied.

       62.      Denied.

       WHEREFORE, IUPA demands judgment enter in its favor and against the Plaintiff with

respect to all claims directed against it, that it be awarded its attorneys’ fees and costs, and such

other relief as the Court deems proper.

                                          JURY DEMAND

       IUPA demands trial by jury on all issues so triable.

                                  AFFIRMATIVE DEFENSES

       1.       Plaintiff fails to state a claim upon which relief may be granted.

       2.       The actions complained of by the Plaintiff were made by others over whom the

Defendant had no direction or control.




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                                                    INTERNATIONAL UNION OF POLICE
                                                    ASSOCIATION AFL-CIO
                                                    By Its Attorneys

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                                  CERTIFICATE OF SERVICE

       I certify that on this 11th day of June, 2021, I filed the within document through the
Electronic Filing System and caused a true copy of this document to be served via electronic
mail upon counsel of record:

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 Pro Se Plaintiff

                                                /s/ Brian C. Newberry
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